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AO 440 (Rev. 06/12) (02/17 WD/VA) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                          for the

                                                           Western District of Virginia
     Baby Doe, a Citizen of Afghanistan Currently Residing in North
     Carolina, by and Through Next Friends, John and Jane Doe, and John
     and Jane Doe, Citizens of Afghanistan and Legal Guardians of Baby      )
     Doe,                                                                   )
                              Plaintiff
                                                                            )
                                 v.                                         )       Civil Action No.     3:22-cv-49
      Joshua Mast, Stephanie Mast, Richard Mast, Kimberley Motley, and
      Ahmad Osmani,
                                                                            )
                                                                            )
                            Defendant
                                                                            )


                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)
                    OFFICE OF THE U.S. ATTORNEY
                    255 W. Main Street
                    Charlottesville, VA 22902
                    Antony Blinken
                    United States Secretary of State
          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — or 120 days for Social Security Cases filed pursuant to 42 USC 405(g) — you must serve on the
plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and address are:
            Maya M. Eckstein (VSB No. 41413)
            Lewis F. Powell III (VSB No. 18266)
            HUNTON ANDREWS KURTH LLP
            951 E Byrd St, Richmond, VA 23219
            Telephone: (804) 788-8200
       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                       CLERK OF COURT


Date:     09/07/2022
                                                                                                 Signature of Clerk or Deputy Clerk
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                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                           .

              I personally served the summons on the individual at (place)
                                                                                     on (date)                         ; or

              I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
          on (date)                               , and mailed a copy to the individual’s last known address; or

              I served the summons on (name of individual)                                                                      , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                     on (date)                         ; or

              I returned the summons unexecuted because                                                                             ; or

              Other (specify):




           My fees are $                          for travel and $                    for services, for a total of $                       .


           I declare under penalty of perjury that this information is true.

Date:
                                                                                           Server’s signature



                                                                                         Printed name and title




                                                                                            Server’s address
 Additional information regarding attempted service, etc:
